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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

 SHERYL RAY, et al.,
                                                       Case No. 3:17-cv-1163-JPG-MAB

                Plaintiffs,                            MINUTES OF COURT

                   v.                                  Date: 8/12/2019

 MYRON KENT WILSON, et al.,                            Place: Benton, IL

                Defendants.



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 PRESENT: HONORABLE J. PHIL GILBERT, U. S. DISTRICT JUDGE

 DEPUTY CLERK: Tina Gray                    COURT REPORTER: Stephanie Rennegarbe

 COUNSEL FOR PLAINTIFF(S): John G. Simon and Erica Blume Slater

 COUNSEL FOR DEFENDANT(S): Christopher P. Leritz and Nathan A. Lindsey

 PROCEEDING: Final Pre-Trial Conference and Motion Hearing

 TIME: 30 minutes

All parties as noted are present in open Court.

This matter is before the Court on a Final Pre-Trial Conference and Motion in Limine.

After hearing arguments, the Court is Granting in part and Denying in part Plaintiff’s Motion
in Limine (doc 73).

Parties indicate to the Court the Jury Trial will take 4 days to try. The Final Pre-Trial
Conference is continued to September 16, 2019 at 9:00 a.m. where parties will appear
telephonically. All Parties are directed to call into (618) 439-7733. The Jury Trial is
scheduled for September 30, 2019 at 9:00 a.m. before the Honorable J. Phil Gilbert in
Benton, IL.


                                            MARGARET M. ROBERTIE, Clerk of Court

                                                        By: /s/ Tina Gray
                                                        Deputy Clerk
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